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                       Exhibit 1
8/26/13   Case 0:13-cv-62093-WJZ     Document
                              Point Blank            4-1
                                          Wins Approval      Entered
                                                        of $36.6            on
                                                                 Million Sale    FLSD
                                                                              to Sun CapitalDocket
                                                                                             Partners - 10/14/2013
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  Point Blank Wins Approval of $36.6 Million Sale to Sun
  Capital Partners
  By Michael Bathon - Oct 28, 2011


  Point Blank Solutions Inc. (PBSOQ), a maker of body armor for the U.S. military and law
  enforcement, won court approval to sell almost all its assets to an affiliate of Sun Capital Partners Inc.
  for about $36.6 million.

  U.S. Bankruptcy Judge Peter Walsh approved the sale to Point Blank Enterprises Inc. at a hearing
  today in Wilmington, Delaware. The final auction price was almost twice as much as the initial bid of
  about $20 million from an affiliate of Gores Group LLC.

  “We’re excited about the increase in price,”, Laura Davis Jones, a lawyer for the company, said in an
  interview after the hearing.

  The company filed for bankruptcy in April 2010, listing assets of $63.9 million and debt of $68.5
  million in Chapter 11 documents. Three units also sought court protection, including Point Blank
  Body Armor Inc., which listed more than $100 million each in assets and debt.

  Point Blank changed its name from DHB Industries Inc. in October 2007. Former Chief Executive
  Officer David Brooks was arrested that same month for conducting a $185 million fraud. Former
  Chief Operating Officer Sandra Hatfield and former Chief Financial Officer Dawn Schlegel also were
  indicted.

  Brooks and Hatfield were convicted in September 2010 of insider trading, fraud and obstruction of
  justice in manipulating financial records to increase DHB’s reported earnings and profits. Schlegel
  pleaded guilty and helped the government with its case.

  Point Blank makes “bullet, fragmentation and stab- resistant apparel and related ballistic accessories”
  for U.S. and international customers, according to court documents. The company has supplied the
  U.S. military with more than 80 percent of its “soft body armor” since 1998.

  The case is In re Point Blank Solutions Inc., 10-11255, U.S. Bankruptcy Court, District of Delaware
  (Wilmington).


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